                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

UNITED STATES OF AMERICA                       §
                                               §
V.                                             §         CRIMINAL NO: 1:19-CR-305-LY
                                               §
(1) DAVID RANDLE JAKOBEIT                      §

                                COURT’S ADVISORY ORDER

       THIS CASE is set for sentencing August 14, 2020, at 9:00 AM in Courtroom 7, Seventh

Floor, United States Courthouse, 501 West 5th Street, Austin, Texas. Due to the COVID-19

pandemic, access to the courthouse is limited throughout the month of August. See Supplemental

Order Regarding Court Operations Under the Exigent Circumstances Created by the COVID-19

Pandemic; Fifth Order Extending Order Relating to the Entry into the United States Courthouse

Austin, Texas [https://www.txwd.uscourts.gov/coronavirus-covid-19-guidance]. The sentencing

hearing will therefore be conducted by video. Defense Counsel should at once contact the

Defendant and obtain a signed Waiver of Rights and Consent to Sentencing by Video

Conference, attached to this advisory, and file the waiver with the clerk of this court well in

advance of the sentencing hearing. Defense counsel may contact Deputy District Clerk Samantha

Oakes at Samantha_Oakes@txwd.uscourts.gov or at 512-391-8702 with questions or to obtain

further information about this procedure.

       IT IS ORDERED that the case is set for docket call by telephone on Friday, August 7,

2020, at 2:00 PM. Only Defendant’s attorney need appear by telephone. The Court waives

appearance by Defendant. Counsel are to call the court’s telephone conference line at (877) 873-

8017; Access Code: 7996289.

       SIGNED this 23rd day of July, 2020.


                                     LEE YEAKEL
                                     UNITED STATES DISTRICT JUDGE
                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

UNITED STATES OF AMERICA                        §
                                                §
V.                                              §       CRIMINAL NO: 1:19-CR-305-LY
                                                §
(1) DAVID RANDLE JAKOBEIT                       §

                   WAIVER OF RIGHTS AND CONSENT TO SENTENCING
                               BY VIDEO CONFERENCE

       I acknowledge that I have a right to appear before United States District Judge Lee

Yeakel in person when pleading guilty or being sentenced. See United States v. Navarro, 169

F.3d 228, 239 (5th Cir. 1999) (holding that a court may not sentence a defendant by video

conference unless the defendant consents). I further acknowledge that I may waive the right to

plead guilty or be sentenced, in person before Judge Yeakel, under Federal Rule of Criminal

Procedure 43(c).

       I have discussed the implications of waiving these rights with my attorney, and I

understand the consequences of such a waiver. I am choosing to knowingly, intelligently, and

voluntarily waive my rights to be sentenced in person. I consent to Judge Yeakel accepting my

guilty plea and sentencing me via video conference.

       I am waiving my rights and consenting of my own free will and volition. Nobody,

including my attorney, has coerced or improperly influenced me in my decision to waive my

rights and consent to a guilty plea and sentencing via video conference.

       Signed this ______ day of ____________________, 2020.



                                             _________________________________
                                             Defendant’s Signature

                                             _________________________________
                                             Defense Counsel’s Signature

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